             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:08-cr-00128-MR-DLH

UNITED STATES OF AMERICA,        )
                                 )
     vs.                         )                  ORDER
                                 )
JANELLE DYANNE PEARSON           )
________________________________ )

     THIS MATTER is before the Court pursuant to 18 United States Code

§ 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

     Pursuant to this Court’s Standing Order [Case No. 3:14-mc-00204,

Doc. 1], the Probation Office has submitted a supplement to the

Defendant’s Presentence Report (“PSR”) in this matter. [Doc. 637]. Based

upon the Notice of Ineligibility filed by the Federal Defenders of WNC, Inc.

[Doc. 626] and the supplement to the Defendant’s Presentence Report filed

by the Probation Office [Doc. 637], the Court determines that the United

States Attorney and the Federal Defenders of WNC, Inc. should provide the

Court with their respective positions regarding the PSR supplement.

     In addition, the Defendant has filed a motion for appointment of

counsel. [Doc. 608]. In light of the Federal Defenders having appeared on

behalf of the Defendant pursuant to the Standing Order, the Court




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determines that the Defendant’s motion for appointment of counsel is

rendered moot.

     IT IS, THEREFORE, ORDERED that no later than thirty (30) days

from the entry of this Order, the United States Attorney and the Federal

Defenders of WNC, Inc. shall file pleadings responsive to the Probation

Officer’s PSR supplement filed in this matter.

     IT IS FURTHER ORDERED that the Defendant’s motion for

appointment of counsel [Doc. 608] is DENIED as MOOT.

     IT IS SO ORDERED.

                                   Signed: March 3, 2015




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